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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION


 OLYMBEC USA LLC,                                 )
                                                  )
 Plaintiff,                                       )
                                                  )
 VS.                                              )
                                                  )
 CWFS INSIGHT LLC D/B/A                           )   Case No: 2:18-cv-02059-JTF-dkv
 REALINSIGHT MARKETPLACE, ET                      )
 AL.,                                             )
                                                  )
 Defendants.                                      )


    DEFENDANT WELLS FARGO BANK, N.A.’S MEMORANDUM OF LAW IN
 SUPPORT OF MOTION TO DISMISS PURSUANT TO FEDERAL RULES OF CIVIL
                   PROCEDURE 12(b)(4) and 12(b)(5)


           Pursuant to Federal Rules of Civil Procedure 12(b)(4) and 12(b)(5), Defendant Wells

Fargo Bank, N.A. (“Wells Fargo”) moves to dismiss all of Plaintiff Olymbec USA LLC’s

(“Plaintiff”) claims and causes of action against Wells Fargo for insufficient process and

insufficient service of process.

                                   PROCEDURAL HISTORY

           On September 29, 2017, Plaintiff filed a Complaint in the Chancery Court for Shelby

County, Tennessee (“State Court”) against CWFS Insight LLC d/b/a RealINSIGHT Marketplace,

CWFS-REDS LLC, CWCapital Asset Management LLC, and 6625 Lenox Park Boulevard

Holdings, LLC (collectively, the “Original Defendants”), alleging breach of Plaintiff’s

contractual right to participate in the Bid Process (the “Complaint”). (Dkt. No. 1-2 at 2-12

(Complaint)). On October 31, 2017, Plaintiff filed a First Amended Verified Complaint (“FAC”)

in State Court, adding defendants Fisher Auction Co., Inc., Lamar P. Fisher, and John Doe


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Putative High Bidder. (Id. at 37-69 (FAC)). On January 22, 2018, Plaintiff filed the Second

Amended Verified Complaint (“SAC”), adding over twenty additional defendants, including

Wells Fargo. (Id. at 82-144 (SAC)). For the first time, the SAC alleges violations of the

Racketeer Influenced and Corrupt Organization Act (“RICO”), 18 U.S.C. § 1961 et seq. SAC ¶¶

233-57. On January 26, 2018, Original Defendants and Defendant Victor Gutierrez (together

with Original Defendants, “Removing Defendants”) timely filed a Notice of Removal removing

the State Court action to this Court pursuant to 28 U.S.C. §§ 1367, 1441, 1446, 1447 (“Notice of

Removal”).    (Dkt. No. 1).    On the same day, Removing Defendants served the Notice of

Removal on Plaintiff and filed a Notice of Filing of Notice of Removal with the State Court

(“Notice of Filing”).   See Dkt. No. 1; Exhibit 1 (Notice of Filing).         Because Removing

Defendants inadvertently failed to attach a copy of the Notice of Removal to the Notice of Filing

filed in State Court, on January 30, 2018, Removing Defendants corrected the same by filing a

Corrected Notice of Filing of Notice of Removal (“Corrected Notice of Filing”), which included

a copy of the Notice of Removal, with the State Court. Exhibit 2 (Corrected Notice of Filing).

       Despite removal of the action to this Court on January 26, 2018, Plaintiff proceeded to

have the State Court issue on February 1, 2018 a summons to Wells Fargo (“State Court

Summons”). A copy of the State Court Summons is attached hereto as Exhibit 3. Plaintiff

attempted to serve Wells Fargo on February 12, 2018 with the State Court Summons and filed

the improper “return of service” with the State Court on March 13, 2018. To date, Plaintiff has

failed to properly issue or serve in this federal action any summons as to Wells Fargo.

                                   LAW AND ARGUMENT

       Federal Rules of Civil Procedure 12(b)(4) and 12(b)(5) authorize a party to file a motion

to dismiss for insufficient process and insufficient service of process. Fed. R. Civ. P. 12(b)(4)-




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(5) (2017). Rule 4 of the Federal Rules of Civil Procedure sets forth the requirements of a proper

summons: the summons must (a) name the court and the parties; (b) be directed to the defendant;

(c) state the name and address of the plaintiff’s attorney; (d) state the time within which the

defendant must appear and defend; (e) notify the defendant that a failure to appear and defend

will result in a default judgment for the relief demanded in the complaint; (f) be signed by the

clerk; and (g) bear the court’s seal. Fed. R. Civ. P. 4(a)(1). Further, Rule 4(b) states that “the

plaintiff may present a summons to the clerk for signature and seal,” and “[i]f the summons is

properly completed, the clerk must sign, seal, and issue it to the plaintiff for service on the

defendant.” Fed. R. Civ. P. 4(b). Similarly, Rule 4(c) governs service of the summons and

requires a plaintiff to serve a defendant with both a copy of the summons and complaint. Fed. R.

Civ. P. 4(c).

        In this case, the State Court Summons is invalid because this action was removed to this

Court before the State Court Summons was issued as to Wells Fargo. After removal of this case,

the State Court did not have jurisdiction to take any action in the case, including to properly issue

the State Court Summons. See 28 U.S.C. § 1446(d) (“Promptly after the filing of such notice of

removal of a civil action the defendant or defendants shall give written notice thereof to all

adverse parties and shall file a copy of the notice with the clerk of such State court, which shall

effect the removal and the State court shall proceed no further unless and until the case is

remanded.”); Harris v. TD Ameritrade, Inc., No. 4:14-cv-017, 2014 WL 5438530, at *3 (E.D.

Tenn. Oct. 22, 2014) (stating that any actions taken by a state court after removal are void);

Crum v. EGC Prod. Co., No. 7:12-80-KKC, 2012 WL 12925375, at *1 (E.D. Ky. Dec. 12, 2012)

(“[W]hat the Plaintiff did in state court after the removal of this action is irrelevant. The state

court’s jurisdiction over this action was terminated when the Notice of Removal was filed with




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this Court.”); Dean Marketing, Inc. v. AOC Int’l (U.S.A.) Ltd., 610 F. Supp. 149, 151 (E.D.

Mich. 1985) (“After removal of the action to this Court, the state court no longer had jurisdiction

of the matter.”). Therefore, if Plaintiff wanted to serve Wells Fargo in this action, Plaintiff

should have requested a summons from this Court pursuant to Fed. R. Civ. P. 4. See 28 U.S.C. §

1448 (“In all cases removed from any State court to any district court of the United States in

which any one or more of the defendants has not been served with process or in which the

service has not been perfected prior to removal, or in which process served proves to be

defective, such process or service may be completed or new process issued in the same manner

as in cases originally filed in such district court.”); see also Vargas v. Ortho-McNeil Pharm.,

Inc., No. 1:08-oe-40113, 2013 WL 3776628, at *3 n.4 (N.D. Oh. Jul. 17, 2013) (“removal of an

action to federal court divests the state court of jurisdiction. 28 U.S.C. § 1446(d).”)

       Once removed to federal court, a civil case is subject to the Federal Rules of Civil

Procedure. Vargas, 2013 WL 3776628, at *3 n.4 (citing Fed. R. Civ. P. 81(c), which governs

removed actions); see also State Farm Fire & Cas. Co. v. Hamilton Beach/Proctor-Silex, Inc.,

No 05-74700, 2007 WL 127909, at *5 (E.D. Mich. Jan. 11, 2007) (“Plaintiff could not have

completed service with the state court summons after removal, but it could (and should) have

requested that this Court issue a federal summons.”); Dean Marketing, Inc., 610 F. Supp. at 152

(“[P]laintiff’s attempted perfection of service of process after removal was ineffective where

plaintiff mailed a state court summons rather than a summons issued by federal court to

defendant….”) (emphasis in original).

       In order to have properly served Wells Fargo, Plaintiff was required to comply with the

requirements of Rule 4 of the Federal Rules of Civil Procedure, which Plaintiff has not. Wells

Fargo was not properly served prior to the removal and has not been served with a summons




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issued by this Federal Court post removal. Because Plaintiff has failed to properly serve Wells

Fargo, Plaintiff’s claims as to Wells Fargo should be dismissed without prejudice.

                                        CONCLUSION

       The Court should dismiss the SAC against Wells Fargo because Plaintiff has not served

Wells Fargo with a proper summons since the State Court Summons was not properly issued and

Plaintiff’s attempted perfection of service after removal from State Court was ineffective.

Dated this 21st day of March, 2018

                                      Respectfully submitted,


                                      s/ Robert F. Tom
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                                CERTIFICATE OF SERVICE

        On March 21, 2018, I electronically submitted the foregoing document with the clerk of
court for the U.S. District Court, Western District of Tennessee, using the electronic case filing
system of the Court which will send notice to counsel of record registered with the CM/ECF
system. I further certify that I also served a copy of the foregoing via U.S. mail, postage prepaid,
upon the following:


Capmark Finance Inc.
c/o Corporation Service Company, Registered
Agent
251 Little Falls Drive
Wilmington, Delaware 19808



                                      s/ Robert F. Tom
                                      Robert F. Tom




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